Case 5:24-cv-06920-EKL   Document 31-16   Filed 12/06/24   Page 1 of 3




                         Exhibit 4
12/5/24, 8:43 AM          Case 5:24-cv-06920-EKL                      Document     31-16
                                                                          Legal - App          Filed
                                                                                      Store Dispute    12/06/24
                                                                                                    Forms - Apple                       Page 2 of 3
    Legal                                                          Hardware      Software   Sales & Support      Internet Services      Intellectual Property   More Resources




                                                        App Store Content Dispute



                   App Store Content Dispute
                   If you believe that an App or Search Ad available through the App Store violates your intellectual property
                   rights, you can submit your claim here. Please note that Apple does not investigate claims regarding
                   branded terms used as Search Ads keywords. In most cases, content available through the App Store is
                   made available by third party providers and, upon receiving your submission, we will contact the provider
                   of the disputed content regarding your claim and ask that they work with you directly to resolve the issue.

                     Submit App Store Dispute




                   App Name Dispute
                   If you believe an App is preventing you from using your trademark as an app name on the App Store, you
                   can submit your claim here. After you provide us with the required information, we will identify the app(s)
                   blocking the name you wish to use. In most cases, we will contact the provider of the disputed app(s)
                   regarding your claim and ask that they work with you directly to resolve the issue.

                   Note: If another app within your, or an associated, developer account is already using the desired app
                   name, please contact the App Store Connect team for further handling.

                     Submit App Name Dispute




           Legal     Intellectual Property   Dispute Forms     App Store

    Hardware and Software                    Sales & Support                           Internet Services                             Intellectual Property

    Hardware Warranties                      Overview                                  Overview                                      Overview

    Software License Agreements              AppleCare                                 Apple Media Services Terms and                Guidelines for Using Apple Trademarks
                                                                                       Conditions                                    and Copyrights
    RF Exposure                              Repair Terms and Conditions
                                                                                       Apple Gift Card Terms and Conditions          Trademarks
                                             Express Replacement Service
    More Resources                                                                     iCloud Terms of Service                       Rights and Permissions
                                             Remote Support Terms and Conditions
    Overview                                 (PDF)                                     TestFlight Terms and Conditions               Piracy Prevention
    Government Information Requests          Sales Policies                            Privacy Policy                                Unsolicited Idea Submission Policy
    Contact Apple Legal                      Certification Agreements and Policies     Website Terms of Use
                                                                                                                                     Education
    Global Trade Compliance                  Apple Gift Card Terms and Conditions
                                                                                                                                     Apple School Manager
    Supplier Provisions                      Training Service Terms and Conditions
    Filemaker Legal Information              Support Communities Terms of Use                                                        Enterprise

https://www.apple.com/legal/intellectual-property/dispute-forms/app-store/                                                                                                       1/2
12/5/24, 8:43 AM        Case 5:24-cv-06920-EKL                           Document     31-16
                                                                             Legal - App          Filed
                                                                                         Store Dispute    12/06/24
                                                                                                       Forms - Apple               Page 3 of 3
    Apple Bag Check Class Action                                                                                                Apple Business Manager
    Settlement
                                                                                                                                Data Transfer Agreements
    Foreman Class Action Settlement



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